Case 5:09-cr-00028-MFU         Document 209 Filed 09/14/16      Page 1 of 1CLERK'
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                 IN T H E U N ITED STATES D ISTRICT C OU RT                   JULK c,DU      cLuax
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U N ITED STATE S O F AM E RICA,

                                            Case N o.5:09-cr-00028

T IM OT H Y W AYN ER PM N TER ,             By:M ichaelF.U rbansld
      D efendant                               United StatesDistrictJudge
                                      OR DE R
      PetitionerTim othy W aynePainterhasfûed am otion to vacate,setasideorcorrect

hissentenceunder28U.S.C.j2255and asksthathebere-sentenced to atotalperiod of
incarceraéon of139 m onths. ECF N o.199. The United StatesagreesthatPedtioner's

j2255moéon shouldbegranted and thatheshould bere-sentenced to aperiod of
incarceration of139 m onths. ECF N o.208.

      ThepartiesareD IRE CTE D to contacttheclerk'sofficeto schedule ahearing at

which thecourtwillconsiderthemedtsofPetitioner'sj2255petition.Ifthecotzrtgrants
thej2255modon,thecourtwillze-sentencePetitioneratthesamehearing.TheCourt
DIRECTS thepartiesto prepareargumentasto whyj2255teliefisappropziateand,ifso,
why the courtshould re-sentencePetidonerto a period ofincarceration of139m onths. The

U nited StatesProbation O fhce isdirected to prepareand m akeavailableto the paréesan

am ended pre-sentence reportpriorto the hearing.

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                                         M ichaelF.Urbansld
                                         United StatesDistrictludge
